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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TOMMY HILFIGER LICENSING LLC,
                                                    Case No. 20-cv-01342
                        Plaintiff,
                                                    Judge Virginia M. Kendall
       v.
                                                    Magistrate Judge Maria Valdez
JO KIAN D/B/A RETAIL FASHION
OUTLET,

                        Defendant.


                                       STATUS REPORT

       Pursuant to this Court’s Order [19], Plaintiff Tommy Hilfiger Licensing LLC (“Plaintiff”)

submits the following status report.

       Plaintiff has charged Defendant Jo Kian d/b/a Retail Fashion Outlet (“Defendant”) with

claims related to trademark counterfeiting. [1]. On March 5, 2020 this Court granted Plaintiff’s

Motion for Expedited Discovery. [15]. Plaintiff served the Order on third parties and received

additional identifying information for Defendant. An Amended Complaint, which included the

additional identifying information about the Defendant, was filed on May 1, 2020. [20]. The

summons was issued in this case on May 5, 2020. Plaintiff is in the process of serving the Amended

Complaint and summons on the Defendant.
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Dated this 18th day of May 2020.      Respectfully submitted,

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